                       EXHIBIT D




Case 3:23-cv-00431   Document 267-4   Filed 11/06/24   Page 1 of 3 PageID #: 4841
     From:                                                                                                                                                                                                                          Roberts, Andrea P.
     To:                                                                                                                                                                                                                            Dean, Jacob R. (Assoc-ATL-Labor-EmpLaw); TS-BTX-PH; ZBlue@constangy.com
     Cc:                                                                                                                                                                                                                            Revance-Allergan-GT
     Subject:                                                                                                                                                                                                                       RE: Allergan v. Revance (M.D. Tenn.) - Compliance With Court Order (ECF No. 204)
     Date:                                                                                                                                                                                                                          Wednesday, October 2, 2024 8:22:41 PM
     Attachments:                                                                                                                                                                                                                   image001.png


 *EXTERNAL TO GT*

 Jacob,

 Thank you for your email. In response to your questions, Allergan produced the responsive
 documents specified by the Court’s order that it was able to locate after conducting a reasonably
 diligent search. Perhaps your confusion comes from the fact that most of the production occurred
 before Allergan responded to Revance’s Motion to Compel, or shortly thereafter. You may recall
 that we explained this in our brief. As a result, most of the responsive documents were produced
 long ago. Allergan’s search for documents responsive to the RFPs that were subject to the
 September 30 production date did not require search terms. With respect to RFP 23, we are
 diligently working to compile the lists of file names and expect to share them with you shortly. If
 you have further questions, please do not hesitate to let us know.

 Thanks,
 Andrea



 From: deanj@gtlaw.com <deanj@gtlaw.com>
 Sent: Wednesday, October 2, 2024 11:29 AM
 To: TS-BTX-PH <TS-BTX-PH@paulhastings.com>; ZBlue@constangy.com
 Cc: Revance-Allergan-GT@gtlaw.com
 Subject: [EXT] Allergan v. Revance (M.D. Tenn.) - Compliance With Court Order (ECF No. 204)
 Counsel, The Court’s order dated September 16 required Allergan to produce all the documents specified in the order “no later than September 30, 2024 . . . .” ECF No. 204 at 23. Revance is in receipt of Allergan’s production




 Counsel,
 The Court’s order dated September 16 required Allergan to produce all the documents specified in
 the order “no later than September 30, 2024 . . . .” ECF No. 204 at 23. Revance is in receipt of
 Allergan’s production on September 30. That production consisted of 44 pages of documents and
 failed to comply with the Joint Discovery Plan, as Revance previously explained.

 In advance of the September 30 deadline, Revance asked Allergan to disclose what ESI searches it
 had run to comply with the Court’s order. Allergan has not provided any additional search terms it
 ran to comply with the Court’s order.

 To date, Allergan has not indicated it anticipates producing any additional documents in accordance
 the Court’s Order. (Of course, any such production would violate the Order’s September 30
 deadline.) Accordingly, please confirm immediately—and certainly no later than 5 p.m. EST today—
 that Allergan has produced all documents in its possession, custody, or control responsive to
 Request for Production Nos. 5, 29, 30, 32, 33, 34, 35, 36, 45-51 and 54.

 In addition, please immediately provide the file names and proposed custodians pursuant to RFP No.
 23 such that Revance may review and, if needed, modify that list. Revance expects that the list of file

Case 3:23-cv-00431                                                                                                                                                                                                                             Document 267-4                Filed 11/06/24             Page 2 of 3 PageID #: 4842
 names will include all Purported Trade Secrets on which Allergan bases its claims of
 misappropriation.

 Thanks,

 Jacob R. Dean
 Associate

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Case 3:23-cv-00431              Document 267-4              Filed 11/06/24          Page 3 of 3 PageID #: 4843
